Case 10-46222-RG                   Doc 78         Filed 04/18/19 Entered 04/18/19 09:59:20                                   Desc Main
                                                  Document      Page 1 of 7


B 2100A (Form 2100A) (12/15)



                         UNITED STATES BANKRUPTCY COURT
                                                  District
                                            __________     of NewOf
                                                        District  Jersey
                                                                    __________

In re ________________________________,
      JACOBS, RANDALL & JACOBS, JILL                                                              Case No. ________________
                                                                                                            10-46222-RG




                    TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.



  BSI Financial Services
______________________________________                                       Shellpoint Mortgage Servicing
                                                                            ____________________________________
          Name of Transferee                                                           Name of Transferor

Name and Address where notices to transferee                                Court Claim # (if known):     3-1
should be sent:                                                             Amount of Claim:      $731,781.79
BSI Financial Services                                                      Date Claim Filed:      08/06/2013
314 S Franklin St, 2nd Floor
Titusville, PA 16354
         800-327-7861
Phone: ______________________________                                       Phone: 800-365-7107
Last Four Digits of Acct #: ______________
                                 2140                                       Last Four Digits of Acct. #: __________
                                                                                                             2140

Name and Address where transferee payments
should be sent (if different from above):
BSI Financial Services
PO Box 679002
Dallas, TX 75267
Phone: 800-327-7861
Last Four Digits of Acct #:                  2140



I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By:__________________________________
    /s/ Maria Cozzini, Esq.                                                 Date:____________________________
                                                                                  04/18/2019
        Transferee/Transferee’s Agent


Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.




Reset                                                                                           Save As...                          Print
            Case 10-46222-RG                     Doc 78         Filed 04/18/19 Entered 04/18/19 09:59:20                                      Desc Main
                                                                Document      Page 2 of 7

314 S Franklin St. / Second Floor                                                                                                                             12-27-2018
PO Box 517
Titusville, PA 16354                                                                                                                          Sent via First Class Mail
800-327-7861
814-217-1366 Fax
https://myloanweb.com/BSI                                                                                                     New Account Number:
                                                                                                                                Old Account Number:
                                                                                                                               Property Address: 5 HAMPTON CT
                                                                                                                                           CALDWELL NJ 07006
     RANDALL JACOBS
     JILL JACOBS
     5 HAMPTON COURT
     NORTH CALDWELL NJ 07006




                                                      NOTICE OF SERVICING TRANSFER
  The servicing of your mortgage loan is being transferred to BSI Financial Services, effective 12-19-2018. The transfer of servicing does not affect
  any term or condition or the mortgage loan other than terms directly related to the servicing of the loan.

                                                         WHAT THIS MEANS FOR YOU
  After this date, BSI Financial Services will be collecting your mortgage loan payments from you. As referenced above, your loan number may
  have changed; however, nothing else about your mortgage loan will change.

  SHELLPOINT MORTGAGE SERVICING, your prior servicer, was collecting your payments. SHELLPOINT MORTGAGE SERVICING will not accept any
  payments received by you after the day preceding 12-19-2018, at which point BSI Financial Services, as your new servicer, will start accepting
  payments received from you going forward.

  Customers can send all payments due on or after 12-19-2018, to BSI Financial Services at this address:

  Via First Class Mail                                                               Via Priority or Overnight Mail
  BSI Financial Services                                                             BSI Financial Services
  PO Box 679002                                                                      Lockbox Number 679002
  Dallas, TX 75267-9002                                                              1200 E. Campbell Rd. Ste. 108
                                                                                     Richardson, TX 75081

  If you have any questions for either your prior servicer, SHELLPOINT MORTGAGE SERVICING, or your new servicer, BSI Financial Services, about
  your mortgage loan or this transfer, please contact them using the information below:

  Prior Servicer                                                                     New Servicer
  SHELLPOINT MORTGAGE SERVICING                                                      BSI Financial Services
  Customer Care                                                                      Customer Care
  PO BOX 51850                                                                       314 S Franklin St, 2nd Floor
  LIVONIA MI 48151                                                                   Titusville, PA 16354
  800-365-7107                                                                       800-327-7861

  Under Federal law, during the 60-day period beginning on the effective date of the transfer of the loan, a loan payment received by your old
  servicer on or before its due date (including any grace period allowed under the mortgage loan instruments) may not be treated by the new
  servicer as late, and a late fee may not be imposed on you.




  This letter is being sent on behalf of BSI Financial Services by its servicing agent, BSI Financial Services.
  BSI Financial Services is a licensed mortgage servicer and debt collector. BSI Financial Services BSI NMLS # 38078

  If you have filed a bankruptcy petition and there is an "automatic stay" in effect in your bankruptcy case or you have received a discharge of your personal
  liability for the obligation identified in this letter, we may not and do not intend to pursue collection of that obligation from you personally. If either of these
  circumstances apply, this notice is not and should not be construed to be a demand for payment from you personally. Unless the Bankruptcy Court has ordered
  otherwise, please also note that despite any such bankruptcy filing, whatever rights we hold in the property that secures the obligation remain unimpaired.
          Case 10-46222-RG                     Doc 78       Filed 04/18/19 Entered 04/18/19 09:59:20 Desc Main
Automatic Withdrawal Customers:
                                                           Document              Page 3 of 7
                                          If your payments are currently set for automatic withdrawal from your checking or savings account,
SHELLPOINT MORTGAGE SERVICING will discontinue the auto-withdrawal service on 12-18-2018.

Next Steps: Please be sure to send a check to BSI Financial Services for your next payment along with the enclosed temporary coupon. If you
would like to continue having your payments automatically withdrawn, BSI Financial Services would be happy to set you up on our Automatic
Withdrawal Program (ACH). Please complete the attached Automatic Clearing House (ACH) Application and return to BSI Financial Services via
fax or mail as outlined in the application. If you need assistance in completing the application, please contact our Customer Care department at
800-327-7861.

You will be receiving a monthly statement in the mail from BSI Financial Services. The following payment options are available to make your
mortgage payment: regular mail, expedited or overnight mail such as UPS or FedEx at the addresses provided above; complete the attached
Automatic Clearinghouse Application to participate in ACH weekly, bi-weekly, or monthly; schedule a one-time or recurring payment via
https://myloanweb.com/BSI; Pay by Phone by calling 800-327-7861; and, and Western Union using the city code “BSI” and the state “PA”.

We look forward to servicing your loan. Please contact us at 800-327-7861 with any questions or concerns.

Sincerely,
Customer Care Department
BSI Financial Services
NMLS # 38078; # 126672

* This is an attempt to collect a debt. Any information obtained will be used for that purpose.

Important note about insurance: If you have mortgage life or disability insurance or any other type of optional insurance, the transfer of
servicing rights may not affect your insurance because we do not service mortgage life or disability premiums. However, if you wish to retain
optional insurance, we would suggest that you contact your current optional product service provider.

                      Qualified Written Request - Notice of Error or Information Request
Under the Real Estate Settlement Procedures Act, a qualified written request is a written correspondence (other than notice on your payment
coupon or other payment medium supplied by us) regarding the servicing of your loan which identifies your name, account number, and the
specific reasons for the request, such as an error on your loan account or a request for information. Any qualified written request you wish to
submit must be sent to:

                                                                      BSI Financial Services
                                                                Attn: Qualified Written Requests
                                                                314 S Franklin St / Second Floor
                                                                           PO Box 517
                                                                       Titusville, PA 16354




This letter is being sent on behalf of BSI Financial Services by its servicing agent, BSI Financial Services.
BSI Financial Services is a licensed mortgage servicer and debt collector. BSI Financial Services BSI NMLS # 38078

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otherwise, please also note that despite any such bankruptcy filing, whatever rights we hold in the property that secures the obligation remain unimpaired.
            Case 10-46222-RG                     Doc 78         Filed 04/18/19 Entered 04/18/19 09:59:20                                      Desc Main
                                                                Document      Page 4 of 7

314 S Franklin St. / Second Floor                                                                                                                             12-27-2018
PO Box 517
Titusville, PA 16354
800-327-7861
814-217-1366 Fax
https://myloanweb.com/BSI                                                                                                      RE: Account Number:
                                                                                                                               Property Address: 5 HAMPTON CT
                                                                                                                                            CALDWELL NJ 07006


     RANDALL JACOBS
     JILL JACOBS
     5 HAMPTON COURT
     NORTH CALDWELL NJ 07006




  Dear Borrower:

  Welcome to BSI Financial Services. The servicing of your loan with SHELLPOINT MORTGAGE SERVICING has been transferred to BSI Financial
  Services, and BSI Financial Services is servicing the loan on behalf of the current creditor PRPM 2018-3, to whom the debt is owed.

  As of the date of this letter, your total unpaid principal balance is $629,159.34 due to PRPM 2018-3, and your escrow account balance is
  $-48,474.24. Your next payment due is in the amount of $7,039.50. Your current interest rate is 6.75%.

  The total debt inclusive of all past due interest and fees, if any, is $796,245.86. Because of interest, late charges, and other charges that may
  vary from day-to-day, the amount due on the day you pay may be greater; therefore, if you pay the amount shown above, an adjustment may
  be necessary after we receive your payoff funds. Please contact BSI Financial Services at 800-327-7861 within 48 hours of when you intend to
  remit payoff funds to confirm the payoff amount. We will inform you of any adjustments prior to posting the payoff funds.

  For further information, please write to us at the address listed above or call us toll-free at 800-327-7861. Monday - Friday 8:00 a.m. - 11:00
  p.m. (ET) and Saturday 8:00 a.m. - 12:00 p.m. (ET).

  Unless you notify this office within thirty (30) days after receiving this notice that you dispute the validity of this debt, or any portion thereof,
  this office will assume this debt is valid. If you notify this office in writing within thirty (30) days after receiving this notice that you dispute the
  validity of this debt, or any portion thereof, this office will obtain verification of the debt or obtain a copy of the judgment and mail you a copy
  of the judgment or verification. Upon your written request for the name and address of the original creditor within the thirty (30) day period
  after receiving this notice, this office will provide you with the name and address of the original creditor, if different from the current creditor.
  Your loan may be sold by the current creditor to another party at any time.

  A consumer has the right to request in writing that a debt collector or collection agency cease further communication with the consumer. A
  written request to cease communication will not prohibit the debt collector or collection agency from taking any other action authorized by law
  to collect the debt. Please send the written request to:
                                                                 BSI Financial Services
                                                                 Attn: Customer Care
                                                           314 S Franklin St, Second Floor
                                                                      PO Box 517
                                                                  Titusville, PA 16354

  BSI Financial Services may report information about your account to credit bureaus. Late payments, missed payments or other defaults on your
  account may be reflected in your credit report. You have the right to dispute the accuracy of the information reported by submitting a Qualified
  Written Request. Submitting a Qualified Written Request does not relieve the customer of the responsibility of making their scheduled
  payments.




  This letter is being sent on behalf of BSI Financial Services by its servicing agent, BSI Financial Services.
  BSI Financial Services is a licensed mortgage servicer and debt collector. BSI Financial Services BSI NMLS # 38078

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          Case 10-46222-RG                     Doc 78 Filed 04/18/19 Entered 04/18/19 09:59:20 Desc Main
                                                     Document           Page 5 of 7
Qualified Written Request - Notice of Error or Information Request: Under the Real Estate Settlement Procedures Act, a qualified written
request is a written correspondence (other than notice on your payment coupon or other payment medium supplied by us) regarding the
servicing of your loan which identifies your name, account number, and the specific reasons for the request, such as an error on your loan
account or a request for information. Any qualified written request you wish to submit must be sent to:

                                                                      BSI Financial Services
                                                                Attn: Qualified Written Requests
                                                                314 S Franklin St / Second Floor
                                                                           PO Box 517
                                                                       Titusville, PA 16354

If you have any questions or concerns, please contact our office toll-free at 800-327-7861.



Sincerely,
BSI Financial Services
NMLS # 38078; # 126672

This is an attempt to collect a debt. Any information obtained will be used for that purpose.

Enclosures:
Temporary Coupon
Automatic Clearing House Application (“ACH”)
Servicemembers Civil Relief Act Notice
Fees and Costs




This letter is being sent on behalf of BSI Financial Services by its servicing agent, BSI Financial Services.
BSI Financial Services is a licensed mortgage servicer and debt collector. BSI Financial Services BSI NMLS # 38078

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otherwise, please also note that despite any such bankruptcy filing, whatever rights we hold in the property that secures the obligation remain unimpaired.
Case 10-46222-RG               Doc 78      Filed 04/18/19 Entered 04/18/19 09:59:20      Desc Main
                                           Document      Page 6 of 7



     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     Caption in Compliance with D.N.J. LBR 9004-1(b)

     Stern, Lavinthal & Frankenberg, LLC
     105 Eisenhower Parkway, Suite 302
     Roseland, New Jersey 07068-0490
     Telephone Number (973) 797-1100
     Facsimile Number (973) 228-2679
     Attorneys for Creditor, BSI Financial Services       Case No.:              10-46222-RG
                                                                             ____________________
     By: Maria Cozzini, Esq.
                                                          Chapter:                    13
                                                                             ____________________


     In Re:                                               Adv. No.:          ____________________

     Randall S D Jacobs                                   Hearing Date:      ____________________

     Jill W Jacobs                                        Judge:              Rosemary Gambardella
                                                                             ____________________




                                     CERTIFICATION OF SERVICE
               Sean Bolduc
1. I, ____________________________ :

           ☐ represent ______________________________ in this matter.

           ☐ am the secretary/paralegal for ___________________________,
                                            Stern, Lavinthal & Frankenberg, LLC who represents

                   Secured Creditor
           ______________________________ in this matter.

           ☐ am the ______________________ in this case and am representing myself.



2.                    April 18, 2019
           On _____________________________, I sent a copy of the following pleadings and/or documents
           to the parties listed in the chart below.
              TRANSFER OF CLAIM



3.         I certify under penalty of perjury that the above documents were sent using the mode of service
           indicated.

Date:      April 18, 2019
           _______________________                       /s/ Sean Bolduc
                                                         __________________________________
                                                         Signature
Case 10-46222-RG       Doc 78   Filed 04/18/19 Entered 04/18/19 09:59:20            Desc Main
                                Document      Page 7 of 7



Name and Address of Party Served        Relationship of                 Mode of Service
                                       Party to the Case
Randall S D Jacobs                   Debtor                ☐ Hand-delivered
5 Hampton Court
                                                           ☐ Regular mail
Caldwell, NJ 07006
                                                           ☐ Certified mail/RR
Jill W Jacobs
5 Hampton Court                                            ☐ Other _____________________
                                                              (As authorized by the Court or by rule. Cite
Caldwell, NJ 07006                                         the rule if applicable.)

Eric David Reiser                    Debtor Attorney       ☐ Hand-delivered
LoFaro & Reiser, LLP
20 Court Street                                            ☐ Regular mail
STE 4                                                      ☐ Certified mail/RR
Hackensack, NJ 07601
                                                           ☐ Other _____________________
                                                                   ECF
                                                              (As authorized by the Court or by rule. Cite
                                                           the rule if applicable.)

                                                           ☐ Hand-delivered
                                                           ☐ Regular mail
                                                           ☐ Certified mail/RR
                                                           ☐ Other _____________________
                                                                   ECF
                                                              (As authorized by the Court or by rule. Cite
                                                           the rule if applicable.)

                                                           ☐ Hand-delivered
                                                           ☐ Regular mail
                                                           ☐ Certified mail/RR
                                                           ☐ Other _____________________
                                                              (As authorized by the Court or by rule. Cite
                                                           the rule if applicable.)

                                                           ☐ Hand-delivered
                                                           ☐ Regular mail
                                                           ☐ Certified mail/RR
                                                           ☐ Other _____________________
                                                              (As authorized by the Court or by rule. Cite
                                                           the rule if applicable.)




                                              2
